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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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 JUAN CARLOS INTERIANO, Individually, and
 JUAN CARLOS INTERIANO, as assignee of ALL-
 BORO REHAB CONSTRUCTION CORP., ALL                                       Case No. 23-cv-238-PKC-AYS
 BORO GROUP, LLC and ALL-BORO
 CONSTRUCTION GROUP, INC.,
                                               Plaintiff,
                   - against -
 ARCH SPECIALTY INSURANCE COMPANY,
                                               Defendant.
 ---------------------------------------------------------------------X
         PLEASE TAKE NOTICE, that Plaintiff JUAN CARLOS INTERIANO Individually

and as assignee of ALL-BORO REHAB CONSTRUCTION CORP., ALL BORO GROUP,

LLC and ALL-BORO CONSTRUCTION GROUP, INC. (“Plaintiff”), upon the accompanying

Memorandum of Law in Support of Plaintiff’s Motion to Disqualify Defendant’s Current Counsel,

the Affirmation of H. Nicholas Goodman dated April 30, 2025, and the exhibits annexed thereto,

hereby move this Court on a date and time set by the Court, before the Hon. Pamela K. Chen, at the

United States Courthouse located at 225 Cadman Plaza East, Brooklyn, New York, Courtroom 4F,

for an Order disqualifying DAC Beachcroft LLP (“Beachcroft”) from continuing to represent

Defendant ARCH SPECIALTY INSURANCE COMPANY due to a conflict of interest, together

with such other and further relief as this Court deems just and proper.

         PLEASE TAKE FURTHER NOTICE, that opposing papers, if any, are to be served on the

undersigned no later than May 30, 2025, and reply papers, if any, are to be served no later than June

16, 2025, pursuant to the Court’s Docket Text Order of April 23, 2025.
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Dated: New York, New York
       April 30, 2025

                                   Yours, etc.
                                   NICHOLAS GOODMAN & ASSOCIATES, PLLC



                               BY: ____________________________________
                                   H. Nicholas Goodman
                                   Patrick L. Selvey
                                   Attorneys for Plaintiff
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Via ECF
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